Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 1 of 38




                Exhibit A
                 Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 2 of 38


Holvey, Patrick (USADC)

From:                                                            @dcd.uscourts.gov>
Sent:                Wednesday, December 27, 2023 11:31 AM
To:                  Holvey, Patrick (USADC)
Subject:             JAMES LITTLE Case# 21cr315


Hi Patrick

Just checked his account and no payment has been made so there is no payment history report yet.

Total Owed: $510.00
Collected: $0.00
Outstanding: $510.00

Thank you


Financial Specialist
U.S. District & Bankruptcy Courts for the District of Columbia
333 Constitution Avenue, NW
Washington, DC 20001




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Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 3 of 38




                Exhibit B
   Facebook Posts in Chronological Order
              (PII Redacted)
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 4 of 38




                              B-1
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 5 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 6 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 7 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 8 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 9 of 38




                (Selected comments continued next page)




                                 B-6
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 10 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 11 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 12 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 13 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 14 of 38




                              B 11
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 15 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 16 of 38




                              B-13
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 17 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 18 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 19 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 20 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 21 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 22 of 38




                              B-19
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 23 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 24 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 25 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 26 of 38




                              B-23
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 27 of 38




                              B-24
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 28 of 38




                              B-25
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 29 of 38




                              B-26
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 30 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 31 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 32 of 38




                              B-29
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 33 of 38




                              B-30
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 34 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 35 of 38




                              B-32
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 36 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 37 of 38
Case 1:21-cr-00315-RCL Document 65-1 Filed 01/03/24 Page 38 of 38
